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 8                               UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                      SAN JOSE DIVISION

11   APPLE INC., a California corporation,           Case No.   5:22-cv-02637-EJD
12                        Plaintiff,                 ORDER REGARDING JOINT
                                                     DISCOVERY LETTER BRIEF
13          v.
                                                     Courtroom: 4
14   RIVOS, INC., a Delaware corporation; WEN        Judge: Hon. Edward J. Davila
     SHIH-CHIEH a/k/a RICKY WEN, BHASI
15   KAITHAMANA; JIM HARDAGE; WEIDONG                Action Filed: April 29, 2022
     YE; LAURENCE PINOT; PRABHU
16   RAJAMANI; and KAI WANG,
17                        Defendants.
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     ORDER GRANTING CASE NO.
     5:22-cv-02637-EJD
       Case 5:22-cv-02637-EJD Document 104 Filed 10/05/22 Page 2 of 2



 1          Before the Court is the parties’ Joint Discovery Letter Brief (Dkt. 96). Having considered

 2   all the Parties’ positions, the Court orders Rivos Inc.’s (“Rivos”) CEO Mr. Puneet Kumar to

 3   appear for another deposition to respond fully to Apple Inc.’s (“Apple”) questions regarding the

 4   topics in his declaration (Dkt. 40-1), including:

 5          1. Whether any Rivos employees retained Apple information after leaving Apple (Dkt.

 6              No. 40-1 ¶ 13);

 7          2. Whether there is any Apple information on Rivos’ internal document system (Dkt.
               No.
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                40-1 ¶ 16);
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            3. Whether the employees Mr. Kumar described in paragraph 16 of his declaration (Dkt.
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                40-1) were asked if they possessed any Apple confidential information;
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            4. What steps, if any, Rivos takes if an employee brings third-party confidential
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                information to Rivos (Dkt. No. 40-1 ¶ 14);
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            5. The status of Rivos’ ongoing investigation into whether Apple’s former employees
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                have retained, disclosed, accessed, or used Apple confidential information (Dkt. No.
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                40-1 ¶ 17);
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            6. Rivos’ investigation of Apple’s claims against Ricky Wen (Dkt. No. 40-1 ¶¶ 13-14); ;
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            7. Rivos’ investigation of Apple’s claims against Weidong Ye (Dkt. No. 40-1 ¶¶ 13-14);
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            8. Rivos’ investigation of Apple’s claims against Jim Hardage (Dkt. No. 40-1 ¶¶ 13-14);
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                and
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            9. Whether Rivos investigated if its employees have synced their iCloud accounts to
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                Rivos-issued devices (Dkt. No. 40-1 ¶¶ 13).
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                                                                        S DISTRICT
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23          IT IS SO ORDERED.                                       TA
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24    Dated:          October 5, 2022
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                                                  Magistrate Judge ofGthe
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     ORDER GRANTING CASE NO.
     5: 22-cv-02637-EJD                                                                                         1
